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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                           CASE NUMBER:
  HEREDIA BOXING MANAGEMENT, INC., et al.
                                                              5:20−cv−02618−JWH−KK
                                       PLAINTIFF(S)

                            v.

  MTK GLOBAL SPORTS MANAGEMENT, LLC, et
  al.
                                                                          DEFAULT BY CLERK
                                                                            F.R.Civ.P. 55(a)
                                    DEFENDANT(S).




       It appearing from the records in the above−entitled action that summons has been served upon the
  defendant(s) named below, and it further appearing from the affidavit of counsel for Plaintiff, and other
  evidence as required by F.R.Civ.P. 55(a), that each of the below defendants have failed to plead or otherwise
  defend in said action as directed in said Summons and as provided in the Federal Rules of Civil Procedure:

       Now, therefore, on request of counsel, the DEFAULT of each of the following named defendant(s) is
  hereby entered:

   Daniel Kinahan




                                                         Clerk, U.S. District Court

    February 2, 2022                                     By /s/ Yvette Louis
  Date                                                   Deputy Clerk

  CV−37 (10/01)                           DEFAULT BY CLERK F.R.Civ.P. 55(a)
